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             EXHIBIT
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gQy_

In re:

HOLDWA VE TRADING LIMITED,                                    Chapter 15
                                                              Case No.:
         Debtor in a Foreign Proceeding.
- -- - - - - - - - - - - -I
                  RULE 7007.1 CORPORATE OWNERSHIP STATEMENT

         Mr. Colin Diss, one of the joint liquidators ("Joint Liquidators" or "Foreign

Representatives") of the creditors' voluntary liquidation of Holdwave Trading Limited

("Holdwave" or "Debtor"), provides the following information in conformity with Fed. R. Bankr.

P. 1007(a)(4) and 7007.1:

         1.     At the time Holdwave went into liquidation, its sole shareholder was Leslie
Scheltens, an individual.
         2.     As to the Joint Liquidators, the corporate ownership statement is inapplicable, as
they are individuals.

                                28 U.S.C. § 1746 VERIFICATION

         I verify under penalty of perjury under the laws of the United States of America that the

foregoing Corporate Ownership Statement is true and correct.


                                                                ited Kingdom on J!f_ June, 2021



                                       Colin Diss - as Joint Liquidator for Oceanroad Global
                                       Services Limited in the UK Proceeding
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Dated: June 14, 2021            Respectfully submitted,

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